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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.     CV 17-8937-DMG (FFMx)                                      Date   May 29, 2019

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   Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 KANE TIEN                                                NOT REPORTED
                 Deputy Clerk                                              Court Reporter

      Attorneys Present for Plaintiff(s)                          Attorneys Present for Defendant(s)
               None Present                                                 None Present

  Proceedings: IN CHAMBERS - ORDER DENYING PLAINTIFF’S EX PARTE
               APPLICATION [60]

          On May 24, 2019, Plaintiff Crytek GmbH filed an Ex Parte Application for an extension
  of time to respond to the pending Motion for Bond filed by Defendants Cloud Imperium Games
  Corporation and Roberts Space Industries Corporation. [Doc. # 60 (“Application”).] Plaintiff
  seeks to continue the hearing on the pending Motion for Bond from June 28, 2019 to July 12, 2019.
  Despite the last-minute nature of Plaintiff’s Application, the Court granted an interim extension of
  Plaintiff’s opposition deadline to June 7, 2019 and allowed Defendants to oppose a further
  extension. [Doc. # 61.] Defendants filed their Opposition to the Application on May 28, 2019.
  [Doc. # 62 (“Opp.”).]

          Having reviewed the parties’ written submissions, the Court finds that a further extension
  is unwarranted. Defendants filed their pending Motion on March 29, 2019—approximately 90
  days before the currently-scheduled June 28, 2019 hearing. [Doc. # 57.] That is more than ample
  time to brief the Motion. While Plaintiff represents that the parties need additional time to engage
  in settlement talks before filing additional briefs, Application at 3, Defendants indicate that
  Plaintiff has stalled and threatened to abandon such talks. Opp. at 3. Regardless of which side is
  to blame for the talks’ lack of success, it does not appear that the parties are close to reaching any
  agreement. Nor is it clear to the Court why Plaintiff believes that briefing this Motion and pursuing
  an eventual settlement are mutually exclusive endeavors.

         Plaintiff argues that courts generally grant extensions “unless the moving party has been
  negligent, lacked diligence, acted in bad faith, or abused prior extensions.” Application at 4 (citing
  Godinez v. Law Offices of Clark Garen, 2016 WL 4527512, at *1 (C.D. Cal. Aug. 30, 2016)). The

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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

   Case No.     CV 17-8937-DMG (FFMx)                                    Date    May 29, 2019

   Title Crytek GMBH v. Cloud Imperium Games Corp., et al.                              Page    2 of 2

  Court previously granted an extension of the briefing and hearing schedule for the Motion. [Doc.
  # 59.] Plaintiff squandered the additional time allotted and further abused that extension when it
  contravened the Court’s Initial Standing Order by filing an ex parte request for a further extension
  on the eve of a holiday weekend, one business day before its opposition deadline. The Court
  therefore declines to delay proceedings on the Motion any further.

         Plaintiff’s ex parte application to continue the hearing on the Motion for Bond to July 12,
  2019 is DENIED. The schedule associated with Defendants’ pending Motion set forth in the
  Court’s May 24, 2019 order shall remain in place. [Doc. # 61.] The hearing on Defendants’
  Motion shall go forward as scheduled at 9:30 a.m. on June 28, 2019. Plaintiff’s deadline to oppose
  Defendants’ Motion is June 7, 2019. Defendants’ deadline to file a reply, if any, is June 14, 2019.

  IT IS SO ORDERED.




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